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his tinle working on Colored Coins,
which made some of other cofounders
wonder if he even wanted to be part of
the team..
   That tin1e in Toronto was when
everyone Illet Steven Nerayoff for the
first tim.e. Steven is an attorney who
quit his job at a fancy New York law
firm. during the dot-corn. boom of the
late 1990s. He dropped everything
and n1oved to Silicon Valley, where
he founded two internet com.panies
to coTI1pete with eBay. After the
internet bubble burst, Steven needed
a break fron1 Silicon Valley, so he
moved back to New York in 2002 and
started a third com.pany, this tim.e in
the health care industry. The firm.,
Freedo1n Eldercare, was acquired by a
private equity fund in 2008. Nerayoff
continued on his founding spree
and created an artificial intelligence
company, m.eant to use cam.eras to
alert cities for things like parking
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tickets, trash collection, snow reITioval,
and crime. Steven also traded gold
futures in his spare tiITie and thought
''fiat money'' was bound to collapse
eventually. He says he had half his
assets in cash and the other half in
gold when the 2008 financial crisis hit,
as he had listened to his libertarian
friends' warnings that a recession was
con11ng.
    When he heard about Bitcoin, the
concept i111rnediately made sense
to hin1. He hired Jonathan Mohan,
founder of Bitcoin NYC, as a Bitcoin
inole. Mohan's job was to be Steven's
eyes and ears on the ground, advising
hin1 on potential new investn1ents.
That's how he'd heard about
Ethereurn's crowdsale, and so there he
was, sitting at a table where the first
Bitcoin ATM in Toronto could be found,
surrounded by the Ethereurr1 crowd.
    Steven explained to the group, som.e
of thern reflexively skeptical about
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newcoiners, that if they didn't do the
sale correctly there would be legal
consequences. He went over some
of the basics with them. about the
different l<inds of exem.ptions the SEC
gave for listing securities, basically,
procedures that companies and issuers
could follow to raise inoney lawfully.
Charles and Joe seem.ed well versed
in the concepts, Steven thought, but
the rest of the guys didn't understand
a word he was saying. They had no
reason to.
  ''Can you figure out how to do this?''
Charles asked.
  ''Absolutely."
  ''How?''
   ''I have no fucking idea."
   They all looked at hin1 lil<e he was
crazy.
   ''Maybe I should say, I have no idea,
but I'll figure it out. I just need sotne
tim.e," he said, and looked specifically
at Vitalil< and Charles. ''I need you guys
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to tell me you're going to give me time.
If you give me time, I'll figure this out."
   They agreed.
   On those few days in Toronto,
there was also a lot of tall< about the
unresolved Google versus Mozilla
question. Would they be a for-profit
cornpany or a nonprofit foundation?
By the end of the Toronto trip, that
question was still up in the air for
son1e, even though Charles, Joe, and
Anthony thought the m.atter had been
settled. To thein, Ethereuin would be
a for-profit software coinpany, which
would build applications to run on top
of the open source protocol. The Gm.bh
con1pany that Mihai had incorporated
in Zug would be dissolved to give way
to a new corporation owned by the
eight cofounders. There would still
be a foundation to inanage the funds
raised and give support to the open
source protocol.
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  Back in New York, Steven
approached a lawyer named Jeffrey
Alberts, a partner at Pryor Cash1nan,
one of the prestigious outfits with
big-nam.e clients known as white­
shoe law firms. While a few firms had
started to specialize in cryptocurrency
cornpanies, Pryor Cashn1an wasn't
one of thelll at the time. But Alberts
worked on white-collar defenses so
he knew how the SEC tended to see
things, and that's exactly what the
Ethereum tean1 needed.
  The tean1 also n1anaged to get on
the phone with Joseph Grundfest, who
was SEC colll111issioner during the
Reagan years in the late 19 80s and had
since Illoved on to teach at Stanford.
They put the question to Grundfest: Do
you think this is a security or not?
  According to Charles's recollection,
Grundfest said that if the Ethereum
tea111 really wanted to eliminate all
uncertainty, they should ask the SEC
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for a ''no action letter," but it was
unlikely that the SEC would issue one,
so their best option was to present
the facts and circumstances to a law
firm. and get their answer to that
question in writing. They could then
dernonstrate that their intentions
were good, should the SEC ever raise
concerns about their offering.
   They retained Pryor Cashn1an and
asked the firn1 for an opinion letter.
The firm. m.ade it clear that it would
write its opinion after independently
researching the issue, and that it
inight very well conclude that ether
is a security. If that happened, either
Ethereu:m. would have to give up on
its token sale and go the traditional
venture capital funding route, or they
would have to find a way to exclude US
investors. The tearn agreed on those
tern1s and so started a process where
they would have :m.eetings and calls
with the lawyers and the form.er SEC
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commissioner that dragged on for
several weeks, as they tried to define
what ether is. 1
  It was all Steven could think of. He
lool,ed at the few other crowdsales in
the cryptocurrency space, but they
didn't exactly fit what Ethereuin
wanted to do. Then he looked at SEC
regulations on crowdfunding, but that
avenue only allowed for a maximum
of $1 n1illion to be raised. Then he
studied all the SEC exen1ptions for
securities offerings to find a safe hoine
where Ethereuin could plant its flag,
but it wasn't fitting neatly on any
of those. ''Okay, so it doesn't fit any
exceptions," he thought. ''Great."
  Next, he started thinking he could
m.aybe n1ake an analogy to som.ething
in the ''real world." Sotnething that
worked like ether did, that could help
hiin understand where this digital
token fit. One key characteristic about
ether is that it's not just a digital
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currency used to transfer value. Ether
is also used to pay for that transfer, and
for any other operation perforn1ed by
the Ethereum. Virtual Machine using
the unit called ''gas." To Steven, ether
was much like a stan1p needed to send
a letter, or like the naine ''gas'' suggests,
like gasoline needed to fuel a car. He
was thinking about these things one
day walking along the leafy roads in
his Long Island neighborhood when
an idea started to form: Nobody would
ever think of stainps or gasoline as
securities. They're goods, which have
rnarket prices, and can be bought and
sold. Ether is pretty much the same.
It's a good that can be bought and
sold. It's :made to serve a function on
the Ethereum. platform., not to be an
investrnent, even if it's sold in a process
that m.ay look a lot like an offering.
   He Inet up with Vitalik that night
and said, ''I had this crazy idea. But I
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want to inake sure I':m thinking about
this correctly."
  ''Okay."
  ''You have to have ether to send
ether, right?''
  ''Right."
  ''And you need it to run the code
behind decentralized applications."
  ''Yeah."
  ''I l,now you called 'gas' gas for
technical purposes, but what if we said
gas is legally lil<e gas, the con1n1odity?''
Steven went on. ''What if we say that
what we're selling here is a product
or good. It has functionality, it has
utility. So, effectively, people are
paying for this ability to send ether
and eventually for the ability to build
dapps and to fuel these dapps."
  ''That inakes sense to me," Vitalik
said.
  With Vitalik on board, the next
step was to bounce the concept off Joe
Grundfest, who1n Steven saw as a legal
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godfather to the process, even if he
wasn't officially involved.
   ''So ... I have this idea," Steven
sheepishly said over the phone. He
explained the concept of ether as a
good, or utility, ready for Grundfest
to say, ''I don't know why I've been
wasting n1y tin1e with you, that's the
stupidest thing I've ever heard," and
hang up.
   Instead, Joe agreed. Ether Illust
have utility in the networl< to steer
it further away fron1 the securities
definition.
   Steven was really taken aback. This
thing m.ight actually work, he thought,
and brought the concept to Pryor
Cashm.an.
   Grundfest said he ulti1nately gave
the Ethereu1n teain two pieces of
advice. The first was to try to n1al<e
ether in1n1ediately useful. It had
to be code that would be used in a
functional environn1ent as quicl<ly as
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possible. The second was to avoid the
United States, because there was the
risk that ether would be viewed as a
security.
  Meanwhile, the developers were
getting anxious. The cofounders had
a weekly or sornetim.es twice-a-week
Skype call where they would update
the group on everyone's progress.
Charles and Joe were usually the ones
to update the group on the progress
with the New Yorl< lawyers. When they
told thein Pryor Cash:man was looking
into the ''utility token'' concept, Gavin
knew what was corning.
   ''So another two weeks?''
  He was getting increasingly annoyed
that there was this continuous
pushing back of the sale by two weeks.
They had been waiting since February,
which had been delayed to get the
Swiss lawyers' opinion, and now it
was being delayed again to hear what
the US lawyers had to say. Meanwhile,
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helping shape this next version of the
internet.
   As they got closer to the crowdsale,
Gavin was anxious for the team. to
focus on delivering the platforn1, and
he identified Berlin as the perfect
place to set up a developn1ent hub.
It was an up-and-corning city, with
lots of technical talent, and lower
labor and housing costs than other
big cities. Gavin convinced his friend
Aeron Buchanan, the one he had
also done the board game and n1usic
visualization startups with, to help
him set up an office in Berlin. They
packed their bags, including a bicycle,
into the back of a car and m.ade their
way fro:m London to Berlin.
   Bacl< in New York, Steven, Charles,
Vitalik, and other Ethereans sat at a
bar when they got the long-awaited
e1nail from the offices of the Pryor
Cashm.an. At last, their law firlll's
opinion letter had arrived:
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   ''We are of the opinion that, while
there is no guarantee of outcome or
result, a court ruling on this issue,
under existing reported decisional
authority, would n1ore likely than not
regard the Ether pre-sale not to be an
offering of securities subject to Section
5 of the Securities Act," the draft of the
letter said, referring to the section that
n1akes it unlawful to sell a security
without registering it with the SEC.
   In a supporting document listing
the firin's facts and assuinptions, the
lawyers wrote that they expected
that the Ethereun1 Foundation ''will
pro111ote the exchange of ether
in a n1anner consistent with the
distribution of a product, and not as
a speculative investn1ent," and that
it won't inake any con1rnitn1ents
to potential presale participants to
continue developing or inaintaining
the Ethereum. platform. after the
creation of the genesis block.
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  Finally, the n1onths of work had
paid off. The opinion letter meant a
big, serious law firn1 believed they
wouldn't break securities laws if they
proceeded with their crowdsale. The
letter gave then1 enough protection, or
at least perceived protection, to raise
the n1oney that would allow then1 to
build the project they were drearriing
of.
   The fra111ing in that letter, that
ether was a product with a specific
functionality, opened the door for
a whole new way of raising m.oney.
Now startups would be able to get
funding from. anyone who wanted to
contribute, all over the world, under
what seem.ed like a safe haven. They
weren't selling securities. These
weren't shares in any con1pany.
They didn't give out dividends that
depended on the con1pany's revenue
and investors didn't have any rights.
They were selling digital tol<ens, n1ade
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to be used inside these platfor111s. They
were selling utility tokens.
   Pryor Cashman was the first 111ajor
law firlll to put out an opinion letter
for a crowdsale to be done by a
cryptocurrency co111pany, which other
firins saw as a green light. By early
201 7, opinion letters such as this one
would clear the way for one ICO after
another.
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   ''What?'' Jeremy said, startled.
   ''Are you afriend, someone else              11


repeated, emphasizing.
   ''Um., yeah, sure, guys," Jerem.y
answered, and looked away,
pretending to be engrossed in the
m.ov1e.
   Suspicions grew into increasingly
outlandish conspiracy theories on one
of the Slacl< channels the Ethereun1
tean1 shared. Steven considered som.e
of the con1rnents to be lightly veiled
anti-Sen1itis111. A111ir was accused by
som.e of belonging to Mos sad, while
some suggested that Charles was
probably with the National Security
Agency (NSA) and would turn
Ethereum. over to Goldm.an Sachs.
   Vitalik happened to be staying
and working froni Steven's hon1e in
Long Island, as he often did when
he stopped in New York, when these
lllessages were sent.
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  ''Hey V, did you see what's going on
in the chat?''
  Vitalik wall<ed over and didn't
answer when he saw the m.essages,
but his face turned red and his usually
peaceful eyes lit up with anger.
Without saying anything, he got his
laptop, stood up, went into another
room., and started typing.
  ''No need for those accusations," he
wrote. ''Ethereu:m is user agnostic. If
banks want to use it, then that's great."
  But it didn't :matter how badly
Vitalil< wanted everyone to get along.
A dark undertone kept surfacing in
the group chats, and he was getting
increasingly frequent calls fron1
Taylor, Mathias, Stephan, and Mihai
com.plaining about Charles.
  One night, Taylor and Mihai got on a
Skype call with Stephan and Mathias,
who had m.oved to the office in
London. It was dark in the Zug house
and everyone else was sleeping. The
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  ''Ethereurn killers'' is one of the few
topics that can prompt Vitalik to drop
his n1ostly peaceful den1eanor. He
said at a conference that projects like
EOS are ''centralized piles of trash."
Responding to a tweet by Tron founder
Justin Sun, where he listed the reasons
why his blockchain was better than
Ethereurn, Vitalik joked that Sun had
copied Ethereurn's white paper.

  [Reason number] 8. Better white paper
  writing capability (Ctrl+C + Ctrl+V much
  higher efficiency than keyboard typing
  new content).


Ethereurn would get an advantage to
all the upstarts. In June the director
of the SEC's Division of Corporation
Finance, Willia111 Hin111an, said he
considers ether not to be a security.
Digital tokens aren't in them.selves
securities, but the way they're sold
can be, and rnost often are, securities
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offerings, he said in a conference.
That had been said by SEC officials
n1any times before, but what was
new about Hinm.an's statements
was that he said the networl<s that
digital tokens are built on can become
decentralized enough over tirne so
that the digital asset stops being a
security, even if it was when it was
sold. In the case of bitcoin, he said,
the network on which it functions ''is
operational and appears to have been
decentralized for s0111e ti1ne, perhaps
from inception." Putting aside the
crowdsale, he said in the ''present state
of ether, the Ethereurn network and its
decentralized structure, current offers
and sales of ether are not securities
transactions.''
  Hinn1an had clarified that in
his opinion, bitcoin and ether
aren't securities and trading those
cryptocurrencies wouldn't break
any laws. No other cryptocurrencies
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were included in the stateII1ent. It
wasn't clear whether SEC officials
think Ethereuin's crowdsale wasn't an
unregistered securities offering, just
that the platfortn and ecosysten1 was
decentralized enough that it didn't rely
on a third party at that n1on1ent.
  Steven Nerayoff, who helped con1e
up with the term ''utility token'' and
get the opinion letter fron1 Pryor
Cashman, was on a retreat in Israel
with en1ployees and investors of his
crypto fund Alcheinist when Hin1nan
n1ade those statem.ents. They were
on a bus near the Masada ruins when
Steven's nephew, who works with him.
in the fund, saw the news.
  ''Steve! Ether's not a security�'' he
said, grabbing him by the arn1 and
shoving his phone up to his face.
  ''Thanl< God!'' he said. It was very
appropriate that they were in the Holy
Land.
